    Case 2:20-cr-00340-KM Document 1 Filed 01/06/20 Page 1 of 4 PageID: 1




                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                    Hon. James B. Clark, III

        V                                   Magistrate No. 20-12006 (JBC)

OTONIEL VARGAS-COJ,                         CRIMINAL COMPLAINT
 a/k/a “Eluid Hixcoy,”
 a/k/a “Ottoniel P. Vargas”

       I, Ian Patel, the undersigned complainant being duly sworn, state the
following is true and correct to the best of my knowledge and belief:

                              SEE ATTACHMENT A

      I further state that I am a Deportation Officer with the United States
Department of Homeland Security, Immigration and Customs Enforcement,
and that this complaint is based on the following facts:

                              SEE ATTACHMENT B




                                      Deportati)Officer
                                      Immi-grffon and Customs Enforcement
                                      U.S. Department of Homeland Security

Sworn to before me and subscribed in my presence,
January 6, 2020 at Newark, New Jersey



HoNoRABLE JAMES B. CLARK, III
UNITED STATES MAGISTRATE JUDGE        Signéie of Judicial Officer
    Case 2:20-cr-00340-KM Document 1 Filed 01/06/20 Page 2 of 4 PageID: 2




                                ATTACHMENT A

     On or about July 29, 2000 and on or before May 1, 2019, in Monmouth
County, in the District of New Jersey, and elsewhere, the defendant,

                            OTONIEL VARGAS-COJ,
                              a/k/a “Eluid Hixcoy,”
                           a/k/a “Ottoniel P. Vargas,”

being an alien, and on or about May 1, 2019, having been deported and
removed and departed from the United States while an order of removal was
outstanding, did knowingly and voluntarily enter, attempt to enter, and was
found in the United States without the Attorney General expressly consenting
to the defendant’s re-applying for admission to the United States prior to his
re-embarkation at a place outside the United States.

      In violation of Title 8, United States Code, Section 1326(a).




                                        2
    Case 2:20-cr-00340-KM Document 1 Filed 01/06/20 Page 3 of 4 PageID: 3




                                ATTACHMENT B

       I, Ian Patel, am a Deportation Officer with the Department of Homeland
Security, Immigration and Customs Enforcement (“ICE”). I am fully familiar
with the facts set forth herein based on my own investigation, my
conversations with other law enforcement officers, and my review of reports,
documents, and items of evidence. Where statements of others are related
herein, they are related in substance and part. Because this complaint is being
submitted for a limited purpose, I have not set forth each and every fact that I
know concerning this investigation. Where I assert that an event took place on
a particular date, I am asserting that it took place on or about the date alleged.

       1. The defendant, OTONIEL VARGAS-COJ, a/k/a “Eluid Hixcoy,” a/k/a
“Ottoniel P. Vargas,” (the “Defendant”), is a citizen of Mexico, and he neither is
a citizen nor a national of the United States.

       2. On or about July 10, 2000, Defendant was arrested by the US Border
Patrol (“USBP”) in Wyoming for illegally entering the United States.

     3. Thereafter, on or about July 27, 2000, Defendant was ordered
removed from the United States to Mexico by an Immigration Judge sitting in
Denver, Colorado.

       4. On or about July 29, 2000, Defendant was removed from the United
States to Mexico. Shortly before his removal from the United States on or about
July 29, 2000, an official from the Immigration and Naturalization Service
(“INS”) took a fingerprint from Defendant.

      5. At some point after his July 29, 2000 removal, Defendant re-entered
the United States without permission from either the Attorney General or the
Secretary of Homeland Security.

       6. On or about September 22, 2004, Defendant was arrested by law
enforcement officers in the District of Wyoming (Cheyenne), for Illegal Entry
into the United Sates, in violation of Title 8, United States Code, Section 1325.

       7. On or about September 24, 2004, Defendant pled guilty in the United
States District Court for the District of Wyoming (Cheyenne), to Illegal Entry
into the United States, in violation of Title 8, United States Code, Section 1325
and subsequently sentenced to time served.

      8. On or about October 12, 2004, Defendant was removed from the
United States to Mexico.

      9. On or about May 1, 2019, Defendant was arrested by the Asbury
Park Police Department in New Jersey, for Aggravated Sexual Assault Victim
                                                                        —




                                        3
    Case 2:20-cr-00340-KM Document 1 Filed 01/06/20 Page 4 of 4 PageID: 4




< 13, in the First   Degree, in violation of Section 2C: 14-2(a)(1) of the New Jersey
Code of Criminal     Justice, and for Endangering Sexual Conduct with Child by
                                                   —




Caretaker, in the    Second Degree, in violation of Section 2C:24-4(a)(1) of the
New Jersey Code      of Criminal Justice.

      io. On or about August 23, 2019, Defendant pled guilty in the Superior
Court of New Jersey, Monmouth County, to Abuse/Abandonment/Cruelty &
Neglect of Child, in the Fourth Degree, in violation of Section 9:6-1 of the New
Jersey Code of Children—Juvenile and Domestic Relations Courts and
subsequently sentenced to approximately one hundred ninety-nine days’
imprisonment.

      11. On or about November 15, 2019, Defendant entered into the custody
of ICE in New Jersey.

       12. A fingerprint taken from Defendant from his deportation record for
the July 29, 2000, were compared to Defendant’s fingerprint that was taken on
or about May 2, 2019 after he entered law enforcement’s custody. All the
fingerprints were found to be identical.

      13. Prior to Defendant’s reentries into the United States, neither the
Attorney General nor the Secretary of Homeland Security consented to
Defendant re-entering the United States. Defendant also did not receive a
waiver allowing him to re-enter the United States.




                                           4
